       Case 4:16-cr-00022-BMM Document 94 Filed 09/19/16 Page 1 of 1



               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                         CR 16-22-GF-BMM

                    Plaintiff,

        vs.                                              ORDER

 MT WATERWORKS, LLC,

                    Defendant.


      The Court conducted a sentencing hearing on September 15, 2016 for

Defendant MT Waterworks, LLC, case number CR-16-37-GF-BMM. During this

sentencing hearing, the Government asked the Court to dismiss Counts 1,3 and 5 in

case number CR-16-22-GF-BMM, for Defendant MT Waterworks, LLC.

Accordingly, IT IS HEREBY ORDERED that, Counts 1,3 and 5 in case number

CR-16-22-GF-BMM, for Defendant MT Waterworks, LLC are hereby

DISMISSED.

      DATED this 19th day of September, 2016.
